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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

  UNITED STATES OF AMERICA,                   CR 17-78-GF-BMM

               Plaintiff,

        vs.                                   ORDER GRANTING MOTION TO
                                              REVOKE PRETRIAL RELEASE
  NOVA BIG LEGGINS,                           AND ISSUING WARRANT

               Defendant.

      The Government has moved to revoke the defendant’s pretrial release.       I

find there is probable cause to believe the defendant has violated his conditions of

release, supported by the affidavit of the U.S. Pretrial Services Officer given under

penalty of perjury. The Court grants the motion and orders the issuance of a

WARRANT.

      DATED this 23rd day of January, 2018.




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